Case 2:21-cv-10620-MAG-KGA ECF No. 16, PageID.102 Filed 06/28/21 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,

      -vs.-                                        Case no. 2:21-cv-10620

JEANISIA SAQUISE ALLEN; FIRST
CHOICE TAX SOLUTIONS, LLC; THE
TAX EXPERTS, INC.; THE TAX EXPERTS,
LLC; and TOP NOTCH TAXES, INC.,

               Defendants.
___________________________________/

                 RESPONSE TO ORDER TO SHOW CAUSE

      The plaintiff, United States of America, responds to the Court’s June 28,

2021 Order to Show Cause why this case should not be dismissed for failure to

prosecute as to Defendants First Choice Tax Solutions, LLC, The Tax Experts,

Inc., The Tax Experts, LLC, and Top Notch Taxes, Inc. (Docket no. 15.)

      The United States filed this suit on March 22, 2021. The Defendants

answered on May 7, 2021. (See docket no. 14, “Defendants’ Answer to Plaintiff’s

Complaint and to Plaintiff’s Request for Permanent Injunction and Other Relief.”)

We are currently awaiting the Court’s order setting a scheduling conference and

requiring the parties’ filing of a discovery plan. Undersigned counsel has prepared

a draft Joint Discovery Plan but has not yet shared or discussed it with opposing


                                         1
Case 2:21-cv-10620-MAG-KGA ECF No. 16, PageID.103 Filed 06/28/21 Page 2 of 4




counsel; undersigned counsel was first waiting to see the Court’s Case

Management and Scheduling Order in the related case United States v. Powell,

case no. 2:21-cv-10622-MAG-KGA, in order to propose similar, but likely slightly

staggered, deadlines in this case to allow for simultaneous discovery while

avoiding Court conflicts, such as the trial dates. The scheduling order in that case

was entered on June 22, 2021.

      Here, all defendants were served on March 24, 2021 (docket nos. 4-8). On

April 7, 2021, attorney Leon Weiss contacted undersigned counsel requesting an

extension of time to answer the complaint on behalf of defendant Jeanisia Allen.

Undersigned counsel agreed to the request, and specifically asked whether Mr.

Weiss also represented the corporate defendants. Mr. Weiss replied that he did

represent all defendants.

      On April 22, 2021, Mr. Weiss filed a notice of appearance on behalf of the

defendants, although the notice omitted Jeanisia Allen’s name and only specifically

referred to the corporate defendants. (See docket no. 12.) The docket text states

that the appearance is by “Brad B. Aldrich appearing on behalf of Jeanisia Saquise

Williams.” On that date, the defendants also filed an unopposed motion to extend

the time to answer to the complaint until May 7, 2021 (docket no. 7). The Court

granted that motion on April 23, 2021 (docket no. 13). As noted above, the




                                          2
Case 2:21-cv-10620-MAG-KGA ECF No. 16, PageID.104 Filed 06/28/21 Page 3 of 4




Defendants answered on May 7, 2021. The government has acted with the belief

that the answer was filed on behalf of all defendants.

      Therefore, we have diligently prosecuted the case and are awaiting the

Court’s order setting a scheduling conference and requiring the filing of a proposed

discovery plan. We will timely file a discovery plan as required in advance of that

scheduling conference. If there are any ambiguities regarding representation of the

defendants, those may be resolved at the conference.

      Dated: June 28, 2021             Respectfully submitted,

                                       SAIMA SHAFIQ MOHSIN
                                       Acting United States Attorney
                                       DAVID A. HUBBERT
                                       Acting Assistant Attorney General

                                       s/ Daniel A. Applegate
                                       DANIEL A. APPLEGATE (P70452)
                                       Trial Attorney, Tax Division
                                       U.S. Department of Justice
                                       P.O. Box 7238, Ben Franklin Station
                                       Washington, D.C. 20044
                                       Telephone: (202) 353-8180
                                       Fax: (202) 514-6770
                                       daniel.a.applegate@usdoj.gov




                                          3
Case 2:21-cv-10620-MAG-KGA ECF No. 16, PageID.105 Filed 06/28/21 Page 4 of 4




                         CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2021, I electronically filed the foregoing
document using the CM/ECF system, which will send notification to all registered
users.


                                             s/ Daniel A. Applegate
                                             DANIEL A. APPLEGATE
                                             Trial Attorney, Tax Division




                                         4
